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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

DERRICK JONES, et al.,                     )
                                           )
         Plaintiffs,                       )
                                           )
         v.                                )         Case No. 4:21CV600 HEA
                                           )
CITY OF ST. LOUIS, et al.,                 )
                                           )
         Defendants.                       )

                  OPINION, MEMORANDUM AND ORDER

     This matter is now before the Court on the remaining discovery disputes

between the parties. The Court previously ordered the parties to meet and confer in

good faith in its Order dated February 27, 2023 [Doc. No. 276]. The parties

complied, and counsel met and seriously conferred in person pursuant to the

Court’s Order. The parties filed a joint status report that indicated they resolved

most of their discovery disputes [Doc. No. 282]. However, three issues remain, and

the parties cannot reach an agreement.

      Inspection of the Criminal Justice Center

      The Court’s Order, dated January 26, 2023, granted in part and denied in

part Plaintiffs’ Motion to Compel Inspection of City Justice Center (CJC) [Doc.

No. 245], allowing Plaintiffs to inspect the CJC areas relevant to Plaintiffs’ claims,

specifically those areas relevant to the use of excessive amounts of OC Spray
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against Plaintiffs and putative class members,1 the inventory and storage area of

the OC Spray, and the medical unit.

       The CJC inspection has been completed. Plaintiffs now request another CJC

inspection to view the intake/admissions area of the jail. Plaintiffs maintain this

area of the jail is relevant because there are several documented use of force

incidents involving OC Spray that occurred in the intake/admissions area.

Defendants argue that the Court’s Order provides for the inspection of the CJC

limited to areas relevant to the Plaintiffs’ claims. Plaintiffs allege conditions of

excessive and unconstitutional uses of OC spray in specific areas, which do not

include the intake/admissions area. The Court agrees with Defendants, and

Plaintiffs’ request for another CJC inspection to view the intake/admissions area

will be denied.

       Video Preservation

       On January 27, 2023, this Court ordered Defendants to continue to preserve

any relevant discoverable surveillance and video footage at the CJC, consistent

with the requirements under the Federal Rules of Civil Procedure [Doc. No. 248].

Plaintiffs request that the Court order Defendants’ counsel to provide

documentation demonstrating that relevant videos are being preserved, for example




1Plaintiffs’ Motion to Certify Class has since been denied by this Court [Doc. No. 280].
Plaintiffs have renewed their Class Motion, proposing a narrower class definition, which is
pending.
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an employee declaration, confirming compliance with the Court’s Order to

preserve all video footage showing the use of OC Spray at CJC. The Court finds its

January 27, 2023 Order is sufficient, and Plaintiffs’ request for additional

documentation from Defendants regarding video preservation will be denied.

      Use of Force Reports

      Plaintiffs acknowledge that Defendants have produced Use of Force Reports

involving OC spray with the named parties. However, Plaintiffs argue that this

production is incomplete because it does include the 2018-2022 time period or the

reports involving non-parties. Defendants are in possession of approximately

1,200-2,100 reports related to the use of force, but not OC spray. Defendants

agreed to produce these Reports that relate to OC spray only if Plaintiffs agreed to

a protective order. Plaintiffs assert Defendant City of St. Louis already produced

these reports in response to a Sunshine request, thereby acknowledging that they

are open records and do not warrant a confidentiality designation. Also, Plaintiffs

claim Defendants have produced Reports in this case without demanding a

protective order.

      It is unclear if all the requested reports have been produced pursuant to a

Sunshine request, or only some of the reports. Therefore, the Court will order

additional clarification from the parties on this dispute. The parties will be ordered

to clarify what reports were previously disclosed in response to the Sunshine

request, and to describe the difference, if any, between the reports Plaintiffs request
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and those provided in the Sunshine disclosure. Defendants will also be ordered to

explain why a protective order is necessary to any reports already provided in

response to a Sunshine request. The parties will be given ten (10) days from the

date of this Order to provide this clarification.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiffs’ request for another inspection

of the Criminal Justice Center to view the intake/admissions area will be DENIED.

       IT IS FURTHER ORDERED that the Court’s January 27, 2023 Order is

sufficient, and Plaintiffs’ request for additional documentation from Defendants

regarding video preservation is DENIED.

      IT IS FURTHER ORDERED that within ten (10) days from the date of

this Order, the parties clarify what reports were previously disclosed in response to

the Sunshine request, and to describe the difference, if any, between the reports

Plaintiffs request and those provided in the Sunshine disclosure.

      IT IS FURTHER ORDERED that within ten (10) days from the date of

this Order, Defendants clarify why a protective order is necessary to any reports

already provided in response to a Sunshine request.

      Dated this 5th day of May, 2023.


                                _________________________________
                                    HENRY EDWARD AUTREY
                                 UNITED STATES DISTRICT JUDGE
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